AO91 (Rev. 12/03) Criminal Complaint

UNITED STATES DISTRICT COURT

Western DISTRICT OF North Carolina

 

UNITED STATES OF AMERICA
Vv CRIMINAL COMPLAINT

Regulo RANGEL-Gutierrez

Case Number: 3/06 | ye}

(Name and Address of Defendant)

I, the undersigned complainant state that the following is true and correct to the best of my

 

 

knowledge and belief. On or about June 19,2006 in Mecklenburg County, in
(Date)
the Western District of North Carolina defendant(s) did,

 

 

(Track Statutory Language of Offense)

enter, attempt to enter, or was at any time found in the United States after having been arrested and deported
from the United States, without having obtained the express consent of the Attorney General of the United
States prior to March 1, 2003 or from Secretary of the Department of Homeland Security after March 1, 2003 to

reapply for admission to the United States.

 

 

in violation of Title 8 United States Code, Section(s) 1326(a)}
I further state that I am a(n) Special Agent and that this complaint is based on the
Official Title .

following facts:

See Attachment - Facts in Support of Criminal Complaint

Continued on the attached sheet and made a part of this complaint: —E Yes CL] No

 

Signature of Compiainant

Melvin K. Pedersen
U.S. Immigration and Customs Enforcement
Printed Name of Complainant

Sworn to before me and signed in my presence,

 

 

 

 

July 7, 2006 at _ Charlotte, North Carolina
Date City and State
David C. Keesler, United States Magistrate Judge Dati eA4
Name and Title of Judge Signature obaetige \ ZL?

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UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF NORTH CAROLINA

AFFIDAVIT

L Melvin K. Pedersen, Special Agent, Immigration and Customs Enforcement, United States
Department of Homeland Security, being duly sworn, state the following:

Ll. That your Affiant has been employed as a Special Agent of the United States Immigration
and Customs Enforcement (ICE), formerly known as the Immigration & Naturalization
Service, for over thirteen years during which time I have conducted numerous investigations
relating to criminal and administrative violations of the Immigration and Nationality Act;

2. As set forth herein, there is probable cause to believe that Regulo RANGEL-Gutierrez
(Hereafter referred to as RANGEL-Gutierrez] has violated Title 8, United States Code,
Section 1326(a) involving the reentry into the United States of an alien who was previously
arrested and removed / deported from the United States, who did not obtain the consent of the
Attorney General of the United States or Secretary of the Department of Homeland Security
to reapply for admission to the United States after said removal / deportation;

3. The information contained in this affidavit is based on my personal participation in this
investigation and from information provided to me by other law enforcement officers. Since
this affidavit is being submitted for the limited purpose of establishing probable cause to
support the arrest of RANGEL-Gutierrez, 1 have not included each and every fact known to
me concerning this investigation and have set forth only those facts that I believe are

necessary for said purpose;

4. That on Monday, June 19, 2006, RANGEL-Gutierrez. was encountered and found in the
United States by Mecklenburg County 287(g) Sheriff's Deputies at the Mecklenburg County
Jail, Charlotte, North Carolina. RANGEL-Gutierrez had been arrested on state charges for
Driving While Impaired, No Operator’s License, Reckless Driving and Drive After

Consuming < 21 year old;

5. Vetting of ICE databases indicated that RANGEL-Gutierrez was previously deported on
November 7, 2005 at Laredo, Texas under immigration file A95 128 563;

That on June 19, 2006, RANGEL-Gutierrez was fingerprinted through IAFIS. The
results produced an identical fingerprint match to FBI number 621683KC3. An NCIC rap
sheet of FBI number 621683KC3 revealed RANGEL-Gutierrez’s arrest for immigration

violations on October 6, 2005 at Charlotte, North Carolina;

on

7. That on July 5, 2006, your A ffiant completed automated computer checks of immigration
systems and found no evidence that RANGEL-Gutierrez has ever applied to the Attorney
General of the United States or Secretary of the Department of Homeland Security to reapply
for admission to the United States after said removal / deportation;

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8. That a review of immigration file number A95 128 563 on July 5, 2006, which pertains to
RANGEL-Gutierrez, revealed the following information;

a) That he is a citizen and national of Mexico by virtue of birth;

b) On October 25, 2005, RANGEL-Gutierrez was ordered deported/removed by
Immigration Judge William A. Cassidy, at the Immigration Court, Atlanta, GA.

c) That the immigration file pertaining to RANGEL-Gutierrez, contains an executed
Warrant of Deportation dated November 2, 2005, bearing the signature,
photograph, and right index fingerprint impression of RANGEL-Gutierrez . That
said Warrant of Deportation indicates that on November 7, 2005 RANGEL-
Gutierrez was deported from the United States to Mexico through Laredo, Texas,
Port of Entry and that his departure from the United States was witnessed by an
officer of the United States Immigration and Customs Enforcement;

d) That he illegally reentered the United States on an unknown date and time at or
near Laredo, Texas without obtaining permission from the Attorney General of the
United States or the Secretary of the Department of Homeland Security to reenter

the United States;

e) That there is no evidence in the immigration file indicating that RANGEL-
Gutierrez applied for or was granted permission from the Attorney General of the
United States prior to March 1, 2003, or from the Secretary of the Department of
Homeland Security after March 1, 2003 to re-enter the United States after having

been deported;

9. And that based on the information stated above, I respectfully request a warrant for arrest
for Reguio RANGEL-Gutierrez.

 

Melvin K. Pedersen, Special Agent
United States Immigration and Customs Enforcement

Sworn to and subscribed before me this 7th day of July, 2006

Dat ha

David CReesler, ined Hates Magistrate Judge

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